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 1    TIMOTHY J. SILVERMAN, ESQ., BAR NO. 145264
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      JOSH WILLIAMS and VERONICA WILLIAMS
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 8                            UNITED STATES BANKRUPTCY COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10

11    In re                                 )              Case No: 06-02200-M7
                                            )
12          NAOMI DYE-CHEN aka NAOMI        )              Adv. Pro.
            CHEN,                           )
13                                          )              Chapter 7
                        Debtor.             )
14                                          )
      _____________________________________ )
15                                          )              COMPLAINT TO DETERMINE
      JOSH WILLIAMS and VERONICA            )              DISCHARGEABILITY OF DEBT
16    WILLIAMS,                             )
                                            )              [11 U.S.C. §523]
17                      Plaintiffs,         )
                                            )
18    v.                                    )
                                            )
19    NAOMI DYE-CHEN aka NAOMI CHEN,        )
                                            )
20                                          )
                        Defendant.          )
21                                          )
22

23            Plaintiffs, JOSH WILLIAMS and VERONICA WILLIAMS ("Plaintiffs"), complains and
24    alleges as follows:
25                                           JURISDICTION
26            1.     This Bankruptcy Court has jurisdiction over this proceeding pursuant to 28 U.S.C.
27    §1471, 157 and 11 U.S.C §523(a)(2)(A) and §523(a)(6). This is a core proceeding pursuant to
28    28 U.S.C. §157.
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 1                                                  VENUE
 2           2.      Venue is proper pursuant to 28 U.S.C. §1409.
 3                                                 PARTIES
 4           3.      Plaintiffs are now and at all times herein mentioned were individuals residing in
 5    the County of San Diego, State of California.
 6           4.      Plaintiffs are informed and believes and upon such information and belief alleges
 7    that NAOMI DYE-CHEN aka NAOMI CHEN ("Debtor" or “Defendant”) is now and at all times
 8    herein mentioned was an individual residing in the County of San Diego, State of California.
 9    Plaintiffs are informed and believes that at all times herein mentioned, the Debtor was the owner
10    and managing member of Chen Acquisitions LLC.
11           5.      Plaintiffs are creditors of the Debtor’s and have been included in the Schedule of
12    Obligations filed by the Debtor in the bankruptcy proceeding.
13           6.      The Debtor filed this voluntary petition for relief under Chapter 7 of the United
14    States Bankruptcy Code on August 13, 2006.
15           7.      James L. Kennedy is the duly qualified and appointed Chapter 7 Trustee.
16                                     FIRST CLAIM FOR RELIEF
17                                         11 U.S.C. §523(a)(2)(A)
18           8.      Plaintiffs realleges and incorporates herein by reference paragraphs 1 through 7 of
19    Plaintiffs’ Complaint as though fully set forth herein.
20           9.      On or before May 5, 2005, based upon a pre-existing, long-time friendship, the
21    Debtor approached the Plaintiffs with an investment scheme whereby the Plaintiffs would invest
22    money with her and her company, Chen Acquisitions LLC. Amongst other things, the Debtor
23    represented to Plaintiffs that the entirety of the funds would be used to invest in real estate. The
24    Debtor represented that the targeted real estate was foreclosed properties which could be re-sold
25    at a high profit. The Debtor represented that Plaintiffs would earn a significant net profit on their
26    invested funds in a very short period of time, i.e., in a matter of months. The Debtor represented
27    that she would fully disclose all aspects of the transactions to Plaintiffs and keep them abreast of
28    all material developments. The Debtor represented that Plaintiffs could have their funds returned
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 1    to them at any time by cashier’s or certified check, to be paid within ten (10) business days. The
 2    Debtor used her friendship with the Plaintiffs to gain their confidence and trust in the proposed
 3    investment.
 4               10.   To make it appear that the investment was legitimate and genuine, the Debtor
 5    insisted that the parties formalize the investment in writing with an Agreement, whereby the
 6    material and salient terms and conditions of the investment arrangement would be set forth
 7    therein.
 8               11.   The Debtor made the representations set forth above, and others, with a specific
 9    intent to induce the Plaintiffs to invest money with her and Chen Acquisitions LLC.
10               12.   Based upon the Debtor’s intentional representations, as well as the trust and
11    confidence that the Plaintiffs had in the Debtor due to their long-standing friendship, the
12    Plaintiffs made the following investments, each memorialized in a separate Agreement:
13                     A.     On May 5, 2005, Plaintiffs invested $25,000.00, with the promise that
14                            they would receive $41,363.64, or a net profit of over 65.4%,, in 4
15                            months;
16                     B.     On May 10, 2005, Plaintiffs invested $20,000.00, with the promise that
17                            they would receive $30,800.00, or a net profit of over 50%,, in 4 months;
18                     C.     On August 18, 2005, Plaintiffs invested $7,000.00, with the promise that a
19                            parcel of real property would be purchased and that upon re-sale, Plaintiffs
20                            would receive 33% of the net profit; and
21                     D.     On August 24, 2005, Plaintiffs invested $30,000.00, with the promise that
22                            a parcel of real property would be purchased and that upon re-sale,
23                            Plaintiffs would receive 50% of the net profit.
24               13.   Without any knowledge that the representations were false or misleading, the
25    Plaintiffs reasonably and justifiably relied upon the Debtor’s representations. The Plaintiffs
26    relied upon their pre-existing and long-standing friendship with the Debtor to invest the funds as
27    well as the fact that other mutual friends of the Plaintiffs and Debtor were also investing funds in
28    the Debtor’s scheme. In fact, the Debtor introduced numerous individuals to Plaintiffs described

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 1    as satisfied existing investors for the purpose of allaying any fears or concerns that the Plaintiffs
 2    had in making the investment and to instill confidence in the transaction.
 3            14.     Plaintiffs fully performed all conditions, covenants and promises required on its
 4    part to be performed in accordance with the terms and conditions of the Agreements.
 5            15.     Considering the totality of the circumstances, the Debtor obtained Plaintiffs’
 6    funds totaling $82,000.0 by false pretenses, or, alternatively, actual fraud, in that the
 7    circumstances constituted a classic Ponzi scheme. The Debtor did not intend to follow through
 8    with any of the representations made to the Debtor and simply used the investment scheme as a
 9    vehicle for inducing the Plaintiffs to invest funds with the Debtor. As a result, the Debtor took
10    the funds invested by the Plaintiffs and used those funds for her own personal use and benefit.
11            16.     Despite repeated demands resulting in a long string of additional
12    misrepresentations and deceit, the Debtor only made one payments of $7,000.00to the Plaintiffs.
13            17.     There is now due and owing by the Debtors to the Plaintiffs the total principal
14    sum of $82,000.00, plus interest thereon from May 5, 2005, and other costs.
15            18.     Because the Debtor obtained the $82,000.00 in funds due to false pretenses, or,
16    alternatively, actual fraud, the debt owed to the Plaintiffs should be determined to be
17    nondischargeable pursuant to §523(a)(2)(A), and that the Debtor be held liable to Plaintiffs for
18    $82,000.00, plus interest thereon from May 5, 2005.
19                                     SECOND CLAIM FOR RELIEF
20                                             11 U.S.C. §523(a)(6)
21            19.     Plaintiffs realleges and incorporates herein by reference paragraphs 1 through 18
22    of Plaintiffs’ Complaint as though fully set forth herein.
23            20.     As set forth above, the Debtor wilfully and maliciously injured the Plaintiffs by
24    her fraudulent acts as set forth in detail above. The Debtors’ acts caused willful and malicious
25    injury to Plaintiffs or to the property of Plaintiffs.
26            21.     As a result of these acts, Plaintiffs have been damaged in the amount $82,000.00,
27    plus interest thereon from May 5, 2005, and other costs.
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 1                 22.   Based on the foregoing, the debt owed by Debtor to Plaintiffs in the principal
 2    amount $82,000.00, plus interest thereon from May 5, 2005, and other costs should be excepted
 3    from discharge pursuant to 11 U.S.C. §523(a)(6).
 4                 WHEREFORE, Plaintiffs prays for judgment as follows:
 5                 1.    That this Court determine the obligation of the Debtor to Plaintiffs be deemed to
 6    be non-dischargeable under 11 U.S.C. §523(a)(2)(A) and/or §523(a)(6);
 7                 2.    That judgment be entered against the Debtor in the principal amount of
 8    $82,000.00, plus interest thereon from May 5, 2005;
 9                 3.    For an award of costs; and
10                 4.    For such other and further relief as this Court deems just and proper.
11    DATED: November 17, 2006                              SOLOMON, GRINDLE, SILVERMAN &
                                                            SPINELLA
12

13                                                          By: /s/ Timothy J. Silverman
                                                            Timothy J. Silverman, Esq.
14                                                          Attorneys for Plaintiffs, JOSH WILLIAMS and
                                                            VERONICA WILLIAMS
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